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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA         :      CRIMINAL ACTION
                                 :
     v.                          :
                                 :
DAVID T. SHULICK                 :      NO. 16-428


                               ORDER

          AND NOW, this 12th day of March, 2018, after a

telephone conference with counsel, it is hereby ORDERED that:

          (1)   the unopposed motion of defendant David Shulick

for continuance of the trial is GRANTED due to the physical

injury and surgery of defendant’s counsel; and

          (2)   the trial shall commence on Monday, April 16,

2018 at 10:00 A.M. in Courtroom 16A.      Counsel shall appear in

Chambers at 9:30 A.M.

                                       BY THE COURT:



                                       /s/ Harvey Bartle III
                                                                      J.
